Case 1:98-cr-00038-JMS-MJD Document 182-3 Filed 12/07/20

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Summary Reentry Plan - Progress Report

Dept. of Justice / Federal Bureau of Prisons

SEQUENCE: 00184458
Report Date: 06-03-2020

 

Date of Birth:

 

Plan is for inmate: SODDIE, WILLIE 410001-037
Facility: YAZ YAZOO CITY FCI Custody Level: IN
Name: BODDIE, WILLIE Security Level: MEDIUM
Register No.: 40001-037 Proj. Rel Date: UNKNOWN
Quarters: E01-217L Release Method: LIFE
Age: 49 DNA Status: VIP02830 / 11-21-2011

 

Offenses and Sentences Imposed ©

 

(Charge

Terms In Effect

 

 

CT, 1, 121:841(A)(1) & 646 CONSPIRACY TO POSSESS WITH INTENT TO DISTRIBUTE AND
TO DISTRIBUTE COCAINE. CTS. 7&8, T18:1956(A)(1}(A)(B) & (H) CONSPIRACY TO COMMIT
MONEY LAUNDERING, CTS. 12, 18 & 21, T18:1956(A)(1}(B) MONEY LAUNDERING,

LIFE

 

 

 

 

 

 

 

 

Date Sentence Computation Began: 12-10-1989
Sentencing District: INDIANA, SOUTHERN DISTRICT
Days FSGT / WSGT / DGCT Days GCT or EGT / SGT Time Served + Jail Credit - InOp Time
Oo; Oo} 9 0 Years: 21 Months: 9 Days: +399 JC -G InOp
Detainers 9 i oe a cee ae
[Delaining Agency Remarks
NO DETAINER
Progranublansy aise sa) Sees ee er ae Se es

 

 

 

programs,

Mr, Baddie arrived on January 12, 2016. It has been recommenced that he participate in a variety of educational, psychological, and recreational

 

Curent Wor Assignments

   

 

 

Start
OB-21-2020

  

[Facl
YAM

Assignment
UNTORD-E1
Work Assignment Summary’

Description

UNITS: UNIT ORDERLY - £1

    

   

 

 

 

| Mr, Boddie is currently assigned a Unit Orderly. He has had the above work assignment.

Current Education Information. 9

 

 

Start

 

 

   

 

 

\Facl Assignment Description

YAM ESL HAS ENGLISH PROFICIENT 03-01-2000

YAM GEDEARNED GED EARNED IN BOP 12-07-2000

Education’ Courses tee ee ist tient 2S RE TE nee eee ee
{SubFacl Action Description Start Stop

YAM c YOGA | 01-04-2018 03-10-2018
YAM Cc ADVANCE CDL CLASS 09-07-2017 11-13-2017
YAM c RPP4 CCC/USPO/AUSA SEMINAR 02-11-2017 05-05-2017
YAM c RPP5 RELEASE REQUIREMENTS 02-11-2017 05-05-2017
YAM c UNDERSTANDING CREDIT 11-03-2016 01-17-2017
YAM Cc SPANISH ! 11-02-2016 01-17-2017
YAM c RPP3 BUYING A HOME 11-12-2016 12-12-2016
YAM c RPP3 CHECKING AND SAVINGS 71-12-2016 12-12-2016
YAM Cc APP3 BUDGETING 09-30-2016 10-28-2016
YAM c PUBLIC SPEAKING 08-29-2016 10-20-2016
YAM c CREATIVE WRITING it 08-23-2018 10-20-2016
YAN C RPP2 JOB SEARCH 08-17-2016 09-26-2016
YAM Cc RPP2 JOB APPLICATION 06-11-2016 09-12-2016
YAM c CREATIVE WRITING 06-02-2016 08-04-2016
YAM c HEAL TH/NUTAITION 06-02-2016 08-04-2016

 

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Summary Reentry Plan - Progress Report SEQUENCE: 00184458
Dept. of Justice / Pederal Bureau of Prisons Report Date: 06-03-2020
a Plan ig for dnmate: BODDIE, WILLIE 40001-0937

|SubFacl Action Description Start Stop

YAM Cc BASIC KEYBOARDING SKILLS 06-02-2016 08-04-2016
YAM c RPP3-FINANCIAL ANALYSIS 2 04-15-2016 06-07-2016
YAM c APP 2-8USINESS PLANNING 2 04-18-2016 06-07-2016
YAM c RPP3-FINANCIAL ANALYSIS 1 02-26-2016 03-31-2016
YAM c APP2 ENTREPRENEUR OPPORTUNITY 02-26-2016 03-31-2016
YAM c RPP1 AIDS AWARENESS 01-14-2016 01-14-2016
GRE c BLOOD PRESSURE SELF STUDY 12-01-2015 12-17-2015
GRE c MEDICAL SCREENING SELF STUDY 12-01-2015 12-17-2015
GRE c WELLNESS SELF STUDY 12-01-2015 12-17-2015
GRE c EXERCISE GOAL SETTING S-STUDY 11-02-2015 14-19-2015
GRE c CORONARY RISK FACTORS SELF SUD 14-62-2015 11-19-2015
GRE c SHU RESUME WAITING SELF STUDY 11-02-2015 19-19-2015
GRE c SHU MONEY SMART SELF STUDY 11-02-2015 21-19-2015
GRE G EXERCISE MOTIVATION SELF STUDY 10-26-2015 11-05-2015
GRE -- ¢ - CARDIOVASCULAR SELF STUDY . 10-26-2015 11-05-2015
GRE c EXERCISE PHYSIOLOGY SELF STUDY 10-26-2015 11-05-2015
GRE c CDL SELF STUDY SHU 10-05-2015 10-22-2015
GRE c APP6 LIFESTYLE INTERVENTION 01-27-2015 03-16-2015
GRE c RPP1 ANATOMY & PHYSIOLOGY 12-11-2014 02-13-2015
GRE c RPP § HALFWAY HOUSE PREP 12-11-2014 01-22-2015
GRE c COMPUTER LAB TYPING COURSE 14-20-2014 01-15-2015
GRE Cc RPPt HIV EDUCATION 11-12-2014 01-14-2015
‘GRE Cc. REL VIOEO-CONFER. FEDERAL JUDGE 11-12-2014 11-12-2014
GRE c RPP6 3 STEPS TO SUCCESS 09-02-2014 10-23-2014
viPcobDE ¢ BREAKING BARRIERS 07-11-2013 09-30-2013
vip G STRONGER ABS/SACK INSTRUCTION 08-29-2013 09-26-2013
vip c STUDY OF DIA@ETES 08-26-2013 69-23-2013
VIP c BASIC NUTRITION COURSE 07-17-2013 08-21-2013
VIP Cc BEG STRESS, HEALTH, & COPING 07-15-2013 06-21-2013
VIP G THE TIME MACHINE 03-01-2012 03-20-2012
vip c GULLIVERS TRAVELS 03-01-2012 03-30-2012
VIP c DECIMALS - 03-01-2012 03-30-2012
VIP c LEARNING BASIC ENGLISH 63-01-2012 03-30-2012
vip G CLASSIC LIT. SHERLOCK HOLMES 03-01-2011 03-31-2011
vip c 20 THOUSAND LEAGUES UNDER SEA 03-01-2014 03-31-2011
vip c BIOGRAPHIES-SPORTS 03-01-2011 03-31-2011
VIP Cc CLASSIC LAST OF THE MOCHICANS 03-01-2011 08-31-2011
vip Cc CLASSIC LITERATURE-IVAN HOE 03-01-2011 03-31-2014
vip c BASIC NUTRITION COURSE 01-11-2011 02-15-2011
VIP orem Ge -STUDY-OF HUMAN BODY - 01-14-2011 02-18-2011
VIP c SPORTS INJURY WELLNESS CLASS 01-13-2011 02-17-2011
VIP c STUDY OF DIABETES 01-12-2011 02-16-2011
vIP Cc RPP USP CMC RPP OVERVIEW (C5) 02-24-2010 02-24-2010
THA c RPP RATIONAL BEHAVIOR GROUP 04-09-2001 06-08-2001
THA c INTSRMEOUATE GED 1200-1400 03-16-2000 12-07-2000

* these re

Fetcateh nfeimeuon St Siimmaisys

 

 

 

   
 
 

 

Prohibited Acts
10-08-2009 297 : PHONE ABUSE-DISAUPT MONITORING
05-11-2605 108 : POSSESSING A HAZARDOUS TCOL

397 : PHONE ABUSE - NO CIRCUMVENTION

 

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Summary Reentry Plan - Progress Report SEQUENCE: 00184458

Dept. of Justica / Faderal Bureau of Prisons Report Date: 06-03-2020
Plan is for inmate: BODDIE, WILLIB 40002-037

{Mr Boddie has received the above Incident reports.

 

 
  

 

 
   
 

 

 

 

 

ARS ‘Assigninénts:: ra te See fae ee

Fact Assignment Reason . Start Stop

YAM A-DES TRANSFER RECEIVED Ot-12-2016 CURRENT
GRE A-DES TRANSFER RECEIVED 08-19-2014 12-21-2015
PEK A-DES TRANSFER RECEIVED 04-28-2014 06-19-2014
vIP A-DES TRANSFER RECEIVED 02-05-2010 04-24-2014
THP CHG A-DES TRANSFER RECEIVED 01-12-2010 01-12-2010
THP CHG A-DES TRANSFER RECEIVED 03-30-2005 13-08-2009

 
    
  

 

A-DES US DISTRICT COURT COMMITMENT 01-05-2000 03-30-2005
ent Cate Assignments % E

 

 

signment Description
CARE1 HEALTHY OR SIMPLE CHRONIC CARE 01-12-2016

CARE1-MH _CAREN-MENTAL HEALTH 12-18-2010

 
  
 

 

 

 

 

 

 
  
  
   

     
 

 

(Assignment Rese Start |
REG DUTY NO MEDICAL RESTR-REGULAR DUTY 01-13-2016
YES F/S CLEARED FOR FOOD SERVICE 01-43-2016
SEE Ani FENCE cea kee es
Description

 

CHG COMP CHALLENGE COMPLETED
Current brigiassignmentsy *iiart te

signment Description
DRG E COMP DRUG EDUCATION atianeer a 07-10-2006

Poids Neue ai aE DE

    

 
  
  
     

 

 

 

      
 
 

FRP Assignment: PART FINANC RESP-PARTICIPATES _ Start: 08-01-2014

Inmate Decision; AGREED $25.00 Frequency: QUARTERLY

Payments past 6 months; $25.00 Obligation Balance: $634,02

Elianets| Objigationier aban ames je a, Spiele He Sree Sees =

  

    
  

No. Type Payable

  

 

 

 

1 ASSMT $600.00 "$0.00 IMMEDIATE ~ COMPLETEDZ
* NO ADJUSTMENTS MADE IN LAST 6 MONTHS **
2 FINE $5,000.00 $634.02 IMMEDIATE AGREED .
Adjustments: Date Added Fac) Adjust Type Reason Amount |
03-11-2020 YAM PAYMENT INSIDE PMT $25.00

 
 

Eifianelal: ‘Responsibillty: ‘Suinpianysi:.! ese ee .

At the time of sentencing Mr. Boddie was ordered to pay a $600.00 felony ass assessment and $5,000.00 in fine. To date this obligation has a batance
$634.02. His payments are current as recommended.

 

 

 

| ** No notes entered **

Gofetal- Commefits;:

“* No notes entered *

 

 

Sentry Data as of 08-28-2020 Summary Reentry Plan - Progress Report Page 3 of 4
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YAM8O 540#23 # SENTENCE MONITORING * 08-28-2020
PAGE 001 * COMPUTATION DATA * 15:31:02
AS OF 08-28-2020

REGNO..: 40001-037 NAME: BODDIE, WILLIE

PBI NO....... 2200: 6736470B6 DATE OF BIRTH: 01-20-1971 AGE: 49
ARS1.........5- +.! YAM/A-DES.

UNIT......... ».s.t ECHO QUARTERS.....: E01-217L
DETAINERS..,...,.: NO NOTIFICATIONS: NO

THE POLLOWING SENTENCE DATA IS FOR THE INMATE'S CURRENT COMMITMENT.
THE INMATE IS PROJECTED FOR RELEASE: LIFE

worn nen eno -e---~------ CURRENT JUDGMENT/WARRANT NO: 010 ---~--------------------
COURT OF JURISDICTION........ ...: INDIANA, SOUTHERN DISTRICT
DOCKET NUMBER.......... teseeeeest 1:98CRO0038-002
JUDGE... eee eee eee +ee.-t MCKINNEY
DATE SENTENCED/PROBATION IMPOSED: 12-10-1999
DATE COMMITTED..................: 01-05-2000
HOW COMMITTED......... Lecce eeees : US DISTRICT COURT COMMITMENT
PROBATION IMPOSED...............: NO

FELONY ASSESS MISDMNR ASSESS FINES costs
NON-COMMITTED.: $600.00 $00.00 $5,000,00 $00.00
RESTITUTION...: PROPERTY: NO SERVICES: NO AMOUNT: $00.00
ween teen en nn ee soe - eee CURRENT OBLIGATION NO: 010 -~------~--~---~-------------
OFFENSE CODE....: 391 21:846 SEC 841-851 ATTEMPT

OFF/CHG: CT. 1, T21:841(A} (1) & 846 CONSPIRACY TO POSSESS WITH INTENT
TO DISTRIBUTE AND TO DISTRIBUTE COCAINE.
CIS. 7&8, T18:1956{A) (1) (A) (B) & (H) CONSPIRACY TO COMMIT
MONEY LAUNDERING, CTS. 12, 18 & 21, T18:1956(A) (2) (B) MONEY

LAUNDERING.
SENTENCE PROCEDURE........... -.: 3559 PLRA SENTENCE
SENTENCE IMPOSED/TIME TO SERVE.: LIFE
TERM OF SUPERVISION....... aeeaet S YEARS
CLASS OF OFFENSE..........-....3 CLASS A FELONY
DATE OF OPFENSB...... eee ceeenee? 06-01-1998

G0002 MORE PAGES TO FOLLOW .
